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Attorneys for Lenard E. Schwartzer

Page 1 of 5

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEVADA

In re:

MEDIZONE INTERNATIONAL, INC.,

Case No. BK-S-18-12662-LEB
Chapter 7

Debtor. NOTICE OF ENTRY OF ORDER
GRANTING EMERGENCY MOTION FOR
ORDER AUTHORIZING TRUSTEE TO
OPERATE DEBTOR’S BUSINESS (11

U.S.C. §721)

 

NOTICE IS HEREBY GIVEN that an Ora'er Granting Emergency Motl`on For Order

Authorizing Trustee To Operate Debtor ’s Business (11 U.S.C. § 721 ) [Dkt. #36] was entered on

May 31, 2018, a copy of which is attached hereto.

Dated this 31St day of May, 2018.

/s/ Jason A. Imes

Jason A. Imes, Esq.

Schwartzer & McPherson Law Finn
2850 S. Jones, Blvd., Suite 1

Las Vegas, NV 89146

Attorneys for Lenard E. Schwartzer, Ch. 7 Trustee

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CERTIFICATE OF SERVICE

1. l caused to be served the following documents:

a. Notice Of Entry Of Order Granting Emergency Motion For Order Authorizing

Trustee To Operate Debtor’s Business (11 U.S.C. §721).

2. I served the above-named document(s) by the following means to the persons as listed
beloW:
l a. Bv ECF Svstem ( on 5/31/2018):
JASON A. IMES on behalf of Trustee LENARD E. SCHWARTZER

bkf`llings@s-mlaw.com
MERLE C. MEYERS on behalf of Creditor EDWIN G. MARSHALL

mmeyers@rneyerslawg;oup.com
MERLE C. MEYERS on behalf of Creditor JILL C. MARSHALL

mmeyers@meyerslawgroup.com

COURTNEY MILLER O'MARA on behalf of Creditor EDWIN G. MARSHALL
comara@fclaw.com, rnbvrd@fclaw.com

COURTNEY MILLER O'MARA on behalf of Creditor JILL C. MARSHALL
comara@fclaw.com, mbvrd@fclaw.com

LENARD E. SCHWARTZER

trustee@s-mlaw.com, lbenson s-mlaw.com nv17 ecfcbis.com les trustesolutions.net
U.S. TRUSTEE - LV - 7

USTPRe,qionl7.LV.ECF@usdoi.,qov

MATTHEW C. ZIRZOW on behalf of Debtor MEDIZONE INTERNATIONAL, INC.
mzirzow@lzklegal.com,
carev@lzklegal.com'marv@lzklegal.com;trish@lzklegal.com;recept@lzkle,qal.com

|:| b. BlUnited States mail, postage fullv prepaid on:

l:| c. By Personal Service

I personally delivered the document(s) to the persons at these addresses:

Page 2 of 3

 

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2850 South ]ones Boulevard, Suite 1
Tel: (702) 228-7590 ~ Fax: (702) 892-0122

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El For a party represented by an attomey, delivery was made by handing the
document(s) to the attorney or by leaving the document(s) at the attomey’s office with a clerk or
other person in charge, or if no one is in charge by leaving the document(s) in a conspicuous place
in the office.

[l For a party, delivery was made by handing the document(s) to the party or by leaving the
document(s) at the person’s dwelling house or usual place of abode with someone of suitable age
and discretion residing there.

El d. Bv direct email ( as opposed to throgh the ECF Svstem)

Based upon the written agreement to accept service by email or a court order, I caused the
document(s) to be sent to the persons at the email addresses listed below. I did not receive, within
a reasonable time after the transmission, any electronic message or other indication that the
transmission was unsuccessful
l:l e. By fax transmission

Based upon the written agreement of the parties to accept service by fax transmission or a
court order, I faxed the document(s) to the persons at the fax numbers listed below. No error was
reported by the fax machine that l used. A copy of the record of the fax transmission is attached.
|:| f. By messenger

I served the document(s) by placing them in an envelope or package addressed to the
persons at the addresses listed below and providing them to a messenger for service.

I declare under penalty of perjury that the foregoing is true and correct.
Signed on: May 31, 2018

Tavlor Jorgensen /s/ Tai)lor Jol'gense)z
(Narne of Declarant) (Signature of Declarant)

 

Page 3 of 3

 

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Honorable Laurel E. Babero
United States Bankruptcy Judge

 

red on Docket
31, 2018

Jason A. Imes, Esq., NV Bar No. 7030
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2850 South Jones Blvd., Suite 1

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Attorneysfor Lenara' E. Schwartzer
UNITED STATES BANKRUPTCY COURT

DISTRICT OF NEVADA
In re: Case No. BK-S-18-12662-LEB
MEDIZONE INTERNATIONAL, INC., Chapter 7

Debtor. ORDER GRANTING EMERGENCY
MOTION FOR ORDER AUTHORIZING
TRUSTEE TO OPERATE DEBTOR’S
BUSINESS (11 U.S.C. §721)

Hearing Date: May 30, 2018 (OST)

 

 

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Hearing Time: 2:30 p.m. (OST)
The Trustee’s Emergency Motionfor Order Authorizing Trustee to Operate Debtor 's

Business (11 U.S.C. § 721 ) (the “Operating Motion”) [ECF No. 26] having come before this Court
on May 30, 2018, pursuant to an Order Shortening Time [ECF No. 31]; Lenard E. Schwartzer (the
“M”), Chapter 7 Trustee, appearing by and through his counsel, Jason A. Imes, Esq., of the
Schwartzer & McPherson Law Firm; other parties appearing as noted on the record; the Court
finding that notice has been given to all creditors and parties in interest as required by law, there
being no opposition, the Court having made its findings of fact and conclusions of law upon the
record which are incorporated herein pursuant to Federal Rules of Bankruptcy Procedure 9014(0)
and 7052, and for good cause appearing,

IT IS HEREBY ORDERED that the Trustee’s Operating Motion is GRANTED; and

Page 1 of 2

 

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IT IS FURTHER ORDERED that the Trustee is authorized nunc pro tunc pursuant to ll
U.S.C. §721 to operate the Debtor’s business for approximately 90 days from June 1, 2018

 

 

through August 31, 2018; and
IT IS FURTHER ORDERED that the Trustee’s authorization to operate the business
during this period is subject to separate approval by this Court of post-petition financing pursuant
to 11 U.S.C. §364 to fund such operation.
Submitted by: APPROVED DISAPPROVED
/s/ Jason A. Imes.. Esq., . /s/ Merle C. Mevers. Esq.
Jason A. Imes, Esq. Merle C. Meyers, Esq.
SCHWARTZER & MCPHERSON LAW FIRM MEYERS LAW GRouP, P.C.
2850 South Jones Blvd., Suite 1 44 Montgomery Street, Suite 1010
Las Vegas NV 89146 San Francisco, CA 94104

Attorneysfor Lenard E. Schwartzer, Trustee Attorneyfor Edwin Marshall and Jill Marshall

LR 9021 CERTIFICATION

In accordance with LR 9021, counsel submitting this document certifies that the order
accurately reflects the court’s ruling and that (check one):

E] The court waived the requirement of approval under LR 9021(b)(1).

E No party appeared at the hearing or filed an objection to the motion.

g I have delivered a copy of this proposed order to all counsel who appeared
at the hearing, and any unrepresented parties who appeared at the hearing, and each
has approved or disapproved the order, or failed to respond, as indicated below:

MERLE C. MEYERS, ESQ.: APPROVED

E I certify that this is a case under Chapter 7 or 13, that I have served a copy
of this order with the motion pursuant to LR 9014(g), and that no party has
objection to the form or content of the order.

/s/ Jason A. Imes., Esq.,
Jason A. Imes, Esq.
SCHWARTZER & MCPHERsoN LAW FIRM

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